













Opinion issued July 13, 2006








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-06-00550-CV
____________

COMPASS BANK, Appellant

V.

SARASOTA CCM, INC., Appellee




On Appeal from the 240th District Court
Fort Bend County, Texas
Trial Court Cause No. 2005-CV-143206




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed an unopposed motion to dismiss its appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Keyes, Alcala, and Bland.


